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UNITED ST/»\'l`ES DISTRICT COURT
WES'[`l-`,",RN [)lSil`RI(_`f'l` OF NEW Y()RK

 

ROBERT SCl-IUSTER,

Plaintil"l`~ _
v. Civil Action No.

WlLLl/\MS & FU_DGE, lNC.,

Del"endant.

 

COlVl PLAINT AN_D DEMAN[) FOR JURY TRIA'L
I. lNTRO`DUCTlON

This is an action 1`or actual and statutory damages brought in response to Del"endant’s
violations ol" the l`*`air Debt Colleetion Practices Act, 15 U.S.C. § 1692 et seq. (hereinat`ter
"FDCPA") which prohibits debt collectors t`rom engaging in abusive, deceptive. and
unl`air practices

lI. JURISDlCTION AND VENUE

.lurisdiction o'l" this court arises under 15 U.S.C. §l692l<(d), 28 U.S.C. § 1331, and 28
U.S.C. § 1337.

Venue is proper in this district under 28 U.S.C. §1391(b) in that the Det`endant transacts
business here and the conduct complained of occurred here.

IIl. PARTIES

i’laintit`l` Robert Schu.ster is a natural person residing in the County of Erie and State of
New Yorl< and is a “consumer” as that term is defined by 15 U.S.C. §1692a(3).

Defendant Williams & Fudge, lne._, (hereinai"ter “Williams & Fudge”) is a foreign
business corporation organized and existing under the laws o'l" the State of South Carolina
and is a “debt collector” as that term is defined by 15 U_S.C. §1692a(6).

Del`enda.nt regularly attempts to collect debts alleged `to be due another.

The acts ot` the Def"endant alleged hereinafter Were performed by its employees acting
within the scope o'l"their actual or apparent authority.

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All references to “Defendant’1 herein shall mean the De'fendant or an employee ol` the
De't`endant.
IV. FACTUAL ALLEGAT{ONS

'l`hat Plaintiff incurred Citibank student loan debt. This debt will be referred to as “the
subject debt.”

Tli.at the subject debt arose out of a transaction in which nioney, services or propertyq
which was the subject of the transaction, was primarily for pei'sonal_ family and/or
household purposes As such, said debt is a L‘debt” as that term is defined by 15 U.S.C.
§1692a(5). '

. Tliat Plaintiff thereafter allegedly defaulted on the subject debt

.ln or about 2()09, Plaintiff filed for bankruptcy in which the alleged subject debt was

included in this bankruptcy petition and subsequently discharged

.ln or about .Ianuary 2016, De'fendant began calling Plaintiff on his cellular telephone

multiple times per week in an attempt to collect on the subject dcbt. Tliat these calls
continued through April 2016.

Dui'ing the first of the De'fendant’s calis. the Plainti'l"f explained that the alleged subject
debt was included in his bankruptcy and subsequently discharged and therefore he does
not owe the subject dcbt.

That on multiple occasions, Plaintift` requested that Defendant stop contacting him as he
included the subject debt in his bankruptcy and therefore did not owe it.

That despite the Plaintiff informing the Defendant on multiple occasions that he does not
owe subject debt, and requesting that Defeiidant stop calling his cellular telephone, the

Defendant continued to call the Plaiiitiff on his cellular telephone

ll`hat the Defendant sent the P|aintifl"a letter dated April 26, 2016, demanding payment of
the alleged subject debt.

That as a result of Defendant`s acts Plaintiff became nervous, upset, anxious and
suffered from emotional distress
V. CAUSE OF ACTION

Plaintiff repeats, re-alleges and incorporates by reference the allegations contained in
paragraphs l through 18 above.

1`lie conduct of Defendant as described in this complaint violated the Fair Debt
Collection Practices Act (15 U.S.C. §1692 et seq.) as follows:

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a. Defendant violated 15 U.S.C. §1692e, 15 U.S.C. §1692e(2)._ 15 U.S.C.
§1692e(5), 15 U.S.C. §1()92e(l()), 15 U.S.C. §1692fand 15 U.S.C. §1692f(1) by
continuing to attempt to collect a debt that Plaintiff does not owe, including
sending correspondence addressed to the l)laintif'f in an attempt to collect the
subject debt and thereby falsely representing that the Plaintiff had an legal
obligation for the alleged subject debt.

b. Defendant violated l5 U.S.C. §l692d and 15 U.S.C. §1692d(5) by calling
excessively after Plaintif'f told Defendant to stop calling him as he did not owe the
debt.

WHEREFORE, Plaintiff respectfully requests that judgment be entered against the Defendant
for:

(a) Actual damages;
(b) Statiitory damages for pursuant to 15 U.S.C. § 1692k.
(c) Costs, disbursements and reasonable attorney's fees pursuant to 15 U.S.C. § 16921\’.
(d) l?or such other and further relief as may be just and proper.
VI. JURY DEl\/IAND

Please take notice that Plaintiff demands tiial by jury in this action

Datcd: .lanuary 5. 2017 _.~" 7/
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